Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 ‘Page 1 of 50 PagelD #: 305

SUN a Bk

1 Barbra Streisand

Oliver Stone

How about another cdnspiracy theory

Mike Farrell

Stick to your MASH unit, B.J.

Nathan Callahan

Whoopi Goldberg

Ramsey Clark

Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 ‘Page 2 of 50 PagelD #: 306

BP eg teen Blak rh.
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George Clooney

Don't screw with Charlie Rose

Jessica Lange |

Martin Sheen

You just play a president on TV so stop acting like
one

Sean Penn

"Dude! Are you as stupid as you look!"

Julia Roberts

You'll never get the role of "Smart Woman"

Janeane Garofalo

Are you trying to be fanny?

Case, 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 :Page 3 of 50 PagelD #: 307

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Dan Chambers

Labor organizer

; Albert Gore ir.

i Indictment of Albe Gore Jr.

Visit the Official Al Gore is a DICK page

Hillary Rodham Clinton

The Hillary Page

Jim McDermott

Gary Condit

s Condit Page?
Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 Page 4 of 50 PagelD #: 308

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As‘ad AbuKhalil
g Dr. Patch Adams
Michael Albert

Robert Altman

Case _4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 ‘Page 5 of 50 PagelD #: 309

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Laurie Anderson
John Ashbery
Edward Asnet

Jon Robin Baitz

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Blase Bonpané
Medea Benj aniin
Phyllis Pennis,
, Oscar Brown, hr

Judith Butler
Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 -Page 7 of 50 PagelD #: 311

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Noam Chomsky
Ben Cohen

David Cole
Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 Page 8 of 50 PagelD #: 312

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Tony Kushner
Phil Lesh

Barbara Lubin
Ray Laforest

| Staughton Lynd

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qd Arturo Madrid

{ Aaron MeGruder

‘Rep. Cynthia McKinney
#Tom Morello

a Viggo Mortensen

Ozomatli

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PU peeve Ten Veena d Phe ee OUT
ee A ee eR : A Meg ae ek ae
“

Katha Pollitt

Harold Prince

Bonnie Raitt

~ David Riker

Matthew Rothschild

Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 Page 11 of 50 PagelD #: 315

Jonathan Schell
Rev. Al Sharpton

Cornel West

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ABOUTUS WHAT. WE BRE DOING. J NEWS ~ A RTISTS _.

NOT IN OUR NAME

List of "100" Signers

53 Maryknoll priests and brothers -

James Abourezk
(Former U.S. Senator)

As’ ad Abukhall!

(Professor, Cal State Univ, Stanisiaus)

Dr. Patch Adams
Michael Albert
Jace Alexander
Robert Altman
Aris Anagnos

Laurie Anderson

John Ashbery
(Poet)

Edward Asner
Jon Robin Baitz

Russel] Banks
(Writer)

John Perry Barlow
(Co-Founder, Electronic Frontier Foundation)

Rosalyn Baxandall
(Historian)

Joel Beinen
(Professor of Middle East History, Stanford)

http://www. artistsnetwork.oreg/news4/news170a.html

4 -

Berleley: Not in Our Name Concert with
Ani DiFranco, Michael Franti, Oxzumali,
Chuck B, Saul Williams

Th¢ Not In Our Name Statement
of Conscience was published

35 @ full-page ad in the

New York Times on September 13,
2002,

LosiAngetes Times, October 4, 2002
USA Teday October 18, 2002

For' more on the statement, and
to pull down a PDF, go to:
www. nion.us

NOT IN OUR

NAME
STATEMENT OF

CONSCIENCE

Let it not be said that people in the
United States did nothing when
theif government declared a war
without limit and instituted stark
new] measures of repression.

The signers of this statement call
on the people of the U.S. to resist
the policies and overail political
direction that have emerged since
September 11, 2001, and which
pos¢ grave dangers to the pecple of
the worid,

We believe that peoples and
hati¢ns have the right to determine
theif own destiny, free from
milltary coercion by great powers.
We belleve that all persons
detained or prosecuted by the
United States government should
have the same rights of due
process. We believe that
questioning, criticism, and dissent
must be valued and protected, We
undérstand that such rights and
valu@s are always contested and
must be fought for, ~

We believe that people of
conscience must take responsibility
for what their own governments do
-> we must first of all oppose the

Injustice that is done in ou

EXHIBIT

I)

tabbles*
2 snag tat

Medea Benjamin
(Globai Exchange)

Jessica Blank
(Actor/playwright)

William Blum
(Author) —

Theresa & Blase Bonpane
(Office of the Americas}

Fr. Bob Bossie
(5c)

Oscar Brown, Jr.
Judith Butler

Leslie Cagan
(Chair, Interim Pacifica Radio National Board}

Kisha Imani Cameron
(Producer}

Henry Chalfant
(Author/filmmaker}

Kathleen Chalfant

Bell Chevigny
(Writer}

Paul Chevigny
(Professor of law, NYU)

Noam Chomsky

Ramsey Clark
(Former U.S. Attorney-General)

Ben Cohen
(Co-founder, Ben & Jerry's)

David Cole
(Professor of Law, Georgetown)

Robbie Conal |

‘Stephanie Coontz
{Historian, Evergreen State College}

Kla Corthron
(Playwright)

Robert Creeley

Paula Cooper

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Document 47-3 Filed 07/01/05 Page 13 of 50 PagelD #: 31

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Pe Vaya

name. Inus we call on all
Arhericans to RESIST the war and
repression that has been loosed on

. the world by the Bush

adjninistration. It is unjust,
immoral, and illegitimate. We
chose to make common cause with
the People of the worid.

We too watched with shock the
hotrific events of September 11,
2001. We tao mourned the
thousands of Innocent dead and
shook our heads at the terrible
seenes of carnage -- even as we
re¢alled similar scenes in Baghdad,
Pahama City, and, a generation
agp, Vietnam. We toa joined the
angulshed questioning of milllons of
Americans who asked why such a
thipg could happen.

Buk the mourning had barely
begun, when the highest leaders of
thé land unleashed a spirit of
revenge. They put out a simplistic
script of "good vs. evil” that was
taken up by a pllant and

‘intimidated media. They told us

that asking why these terrible
events had happened verged on
treason. There was to be no
debate. There were by definition no
valld political or maral questions.
The only possible answer was to be
war abroad and repression at
home.

In bur name, the Bush
administration, with near unanimity
fromm Congress, not only attacked
Afghanistan but arrogated to Itself
and Its allies the right to rain down
military force anywhere and
anytime. The brutai repercussions
have been feit from the Philippines
to Palestine, where Israeli tanks
and bulldozers have left a terrible
trail of death and destruction, The
government now openly prepares to
wage all-out war on Iraq -- a /
country which has no connection to
the! horror of September 11, What
kind of werld will this became iF the
U.S. government has a blank check
ta drop commandos, assassins, and

bombs wherever it wants?

in gur name, within the ULS., the
government has created two
clagses of people: those to whom
the basic rights of the U.S. legal
system are at least promised, and
those who now seem te have no
rigtts at all. The government
roubded up over 1,000 immigrants
and detained them in secret and
indefinitely. Hundreds have been
deported and hundreds of others
still languish today in prison. This
smacks of the infamous
concentration camps for Japanese-
Americans in World War 2. For the

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meet et he ak Pet, Se thiaghg?

Kimberlé Crenshaw
(Professor of law, Columbia and UCLA)

Culture Clash
Joan Cusack
John Cusack

Kevin Danaher
(Global Exchange)

Barbara Dane
Rev. Herbert Daughtry
Angela Davis
Ossie Davis
Zach De La Rocha
Mos Def
Ani di Franco
Diane DiPrima

Mark DiSuvero
(Scuiptor)

Julie Dorf

(International Gay & Lesbian Human Rights Commission)

Carol Downer
(Board of directors, Chico (CA}

Feminist Women's Health Center)
Roma Downey

Roxanne Dunbar-Ortiz
(Professor, Califomia State University, Hayward)

Bill Dyson

(State representative, Connecticut)
Michael Eric Dyson

Steve Earle
(Slnger/songwriter}

Barbara Ehrenreich

Deborah Eisenberg
(Writer)

Héctor Elizondo

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4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 Page 14 of 50 PagelD #: 31

‘first time In decades, Immigration

8

nm cote

procedures single out certain
nationalities for unequal treatment.

In pur name, the government has
brdught down a pall of repression
over society. The President's
sp9kesperson warns people to
"watch what they say." Dissident
artists, intellectuals, and professors
find their views distorted, attacked,
and suppressed, The so-called
Patriet Act -- along with a host of
similar measures on the state level
-- gives police sweeping new-
powers of search and seizure,
supervised if at all by secret
proceedings before secret courts.

In bur name, the executive has
steadily usurped the roles and
functions of the other branches of
government. Military tribunals with
lax rules of evidence and no right to
appeal to the reguiar courts are put
in place by executive order. Groups
are| declared "terrorist" at the
stroke of a presidential pen.

We: must take the highest officers
of the land seriously when they talk
of 4 war that will last a generation
and when they speak of a new
domestic order. We are confronting
a nkw openly imperial poticy
towards the world and a domestic
policy that manufactures and
manipulates fear to curtail rights.

There ts a deadly trajectory to the
events of the past months that
must be seen for what It is and
resisted. Tao many times in history
people have waited until it was too
fata to resist,

President Bush has declared:
“you're either with us or against
us." Here Is our answer: We refuse
to allow you to speak for all the
American people. We will not give
up our right to question. We will not
hand over our consciences in return
for B hollow promise of safety. We
sayiNOT IN OUR NAME. We refuse
to he party to these wars and we
reptidlate any inference that they
areibeing waged In our name or for
ourlwelfare, We extend a hand to
those around the world suffering
from these policies; we will show.
our|solidarity in word and deed.

We who sign this statement call on
all Americans to join together to
risejto this challenge. We applaud
and! support the questioning and
protest now going on, even as we
recognize the need for much, much
mote to actually stop this
juggernaut. We draw insplration
from the Teraali rasarvicte wha at

S/O hn Aas
wings apes wage ne BS oben ite vy wentacht

Daniel Ellsberg
Brian Eno
Eve Ensler

Leo Estrada
(Professor of Urban Planning, UCLA)

Frances D. Fergusson
(President, Vassar College)

Lawrence Ferlinghetti
(City Lights Bookstore)

Laura Flanders
(Radlo host and journalist)

Jane Fonda
Richard Foreman

Thomas C, Fox
(Publisher, National Catholic Reporter)

Elizabeth Franix

Michael Franti
(Spearhead)

Glen E. Friedman

Bill Frisell
(Musician)

Terry Gilliam
(Flim director)

Milton Glaser

Charles Glass
Goumalist)

Jeremy Matthew Glick
(Co-editor, Another World Is Possible}

Corey Glover
(Singer, Living Color}

Danny Glover
Danny Goldberg
Leon Golub
Juan G—mez Quifiones

(Historian, UCLA}

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Page 15 of 50 PagelD #: 319

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MEE ee te ee rea eer Lon
grgat personal risk, declare "there
1S a limit" and refuse to sarve in
the occupation of the West Bank
and Gaza.

We also draw on the many
examples of resistance and
cofisclence from the past of the
United States: from those who
fought slavery with rebellions and
thd underground railroad, to those
who defied the Vietnam war by
refusing orders, resisting the draft,
and standing in solidarity with
registers,

Let us not allow the watching world
today to despair of our silence and
our failure to act. Instead, let the
world hear our pledge: we will
resist the machinery of war and
repression and rally others to do

everything possible to stop It,

October 6,

NOT IN OUR NAME - Rallies against the
War October 6:

Over 20,000 NYC

Seeiphotos 10,000 in LA more news:
wiew, Why-War.com and

WwW notinoumame.net

forful Press coverage on the Oct 6 demos
erdss the country,

ARTISTS!

SPREAD THE WORD!, get the
statement reprinted In the
pulication of your choice, get on
the! radio and talk about it, write a
fetter to the editor, put it on a
website, send it to 300 friends,
make copies and take it to your
audience at the theaters, galleries,
concert halls, clubs. ,

WE CAN STOP THIS MADNESS.
IF NOT NOW, WHEN?

| PLEDGE OF RESISTANCE

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,Case A: 03- “CV. 04146. LLP Document 47-3 Filed 07/01/05 Page 16 of 50 PagelD #: 320

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Vivian Gornick
Jorie Graham
André Gregory
John Guare
Allan Gurganus
Jessica Hagedorn

Sondra Hale
{Professor, anthropology and women's studies, UCLA)

Suheir Hammad

Nathalie Handal
{Poet and playwright)

Daniel Handler
(aka Lemony Snicket)

Michael Hardt
(Co-Author of Empire)

Christine B. Harrington
(Professor of Polltics, NYU)

David Harvey
(Distingulshed professor of anthropology,

CUNY Graduate Center}

Stanley Hauerwas
(Theologian)

Tom Hayden
Geoffrey Hendricks

Edward S. Herman
{Wharton School, University of Pennsylvania)

Susannah Heschel
(Professor, Dartmouth College)

Fred Hirsch
(Vice president, Plumbers and Fitters Local 393)

- bell hooks

Doug Ireland
{Contributing editor, In These Times)

Rakaa Iriscience
(Dilated Peoples)

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Mae aX PET

Not In Our Name.
: +. Two Songs.
' by Saul Williams and the.
- Pledge of Resistance.

YET ee et Si td Pa
at SEE Me

NYCt Not In Our Name:

An Evening of Conscience.
October 3,_a_readina with Eve
Ensler, Marisa Tomei. Tony Kushner
and more,

Art Signs of the
Pledge of Resistance

Savage Rose releases
A World in Flame
(Not In Our Name}

TORO
nar GaSe, 4:03-CV-04146-.LP Document 47-3 Filed 07/01/05 Page 17 of 50 PagelD #: 321

Abdeen Jabara
(Past Pres, Amer.-Arab Anti-Discrimination Comm.)

Rey. Jesse Jackson
Mumia Abu-Jamal

Fedric Jamison
{Chair of the Literature Program, Duke)

Harold B. Jamison
{Major {ret.), USAF)

Jim Jarmusch

Erik Jensen
(Actor/playwright)

Chalmers Johnson
(Author of Blowback)

Bill T. Jones
Casey Kasem

Evelyn Fox Keller
(Professor of History of Scienca, MTT)

Robin D.G. Kelley
(Prof. of History & Africana Studies, NYU)

Martin Luther King ITI

{Pres., Southern Christian Leadership Conference)
Barbara Kingsolver

Arthur Kinoy
(Board co-chair, Center for Constitutional Rights)

Sally Kirkland

C. Clark Kissinger
(Refuse & Resist!)

Yuri Kochiyama

Annisette & Thomas Koppel

(Singers/composers)
Barbara Koppel

David Korten
(Author of When Corporations Rule the World)

Barbara Kruger
Tony Kushner

Jarnes Lafferty

http://www.artistsnetwork.org/news4/news170a.html 7/28/2003
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whag tte

= oars eee ~* .
(Executive director, National Lawyers Guild/La.)

Ray Laforest
(Haiti Support Network)

Beth K. Lamont
{Corliss-Lamont.org)

Jesse Lemisch
(Professor of history emeritus,

John Jay Coitege of Justice, CUNY)
Harriet Lerner

Rabbi Michael Lerner
(Editor, TIKKUN magazine)

Phil Lesh
(Grateful Dead)

Richard Lewontin
(Professor Emeritus of Biology, Harvard)

Lucy Lippard

James Longley
(Filmmaker)

Barbara Lubin
(Middle East Childrens Alliance)

Janet L. Abu-Lughod
(Prof. of Pol. & Soc.Science, NYU)

Staughton Lynd
Dave Marsh
Rabbie Robert Marx
Rep. Jim McDermott

Aaron McGruder
Rep, Cynthia McKinney
W.S. Merwin
Susan Minot

Anuradha Mittal
(Co-director, Institute for Food and
Development Policy/Food First)

Maiaquias Montoya
(Visual artist)

Tom Morello

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Robin Morgan
Viggo Mortensen

Minister Benjamin Muhammed
(Hip-Hop Summit Action Network)

Jill Nelson

Robert Nichols
(Writer)

Linda Nochiin
Kate Noonan
Claes Oldenburg
Pauline Oliveros
Yoko Ono

Rev. E. Randall Osburn
(Exec. V.P., Southern Christian Leadership Conference)

Ozomatli

Jim Page
(Singer)

Grace Paley
Michae! Parenti

Jeremy Pikser _
(Screenwriter, Bulworth}

Frances Fox Piven
(Graduate Center of the City University of New York)

Katha Pollitt
James Stewart Polshek

Harold Prince

Jerry Quickley
(Poet)

John T. Racanelli
(Presiding Justice (Ret), California Court of Appeal)

Bonnie Raitt
Margaret Randall

Marcus Raskin

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rr. ear urd

Michael Ratner
(Pres., Center for Constitutional Rights)

Amy Ray
{Indigo Girls}

Rev. George Regas
(interfaith Communitles United for Justice and Peace)

Adrienne Rich

David Riker
{Filmmaker}

. Boots Riley
(The Coup)

Kate Robin
James Rosenquist
Judith Rossner
Matthew Rothschild
Ed Sadiowski
Edward Said

Angelica Salas
Campaign for Humane Immigrant Rights of LA)

(Director,
Luc Sante
Susan Sarandon

Saskia Sassen
(Prof, of Sociology, Chicago}

. John Sayles

Jonathan Schell
(Fellow, Nation Institute}

Carolee Schneemann
(Artist)

Ralph Schoenman & Mya Shone

(Council on Human Needs)

Juliet Schor
(Director of Wemen's Studies, Harvard)

Annabella Sciorra
Pete and Toshi Seeger

Mark Selden

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LPibetuiieny

Peter A, Serkin
Frank Serpico
Richard Serra
James Shamus
Rey. Al Sharpton
Wallace Shawn
Martin Sheen
Ron Shelton
Alex Shoumatoff
Russel] Simmons

John J. Simon
(Writer, editor)

Kevin Smith
Kiki Smith

Michae! Steven Smith
(National Lawyers Gulld/NY)

Norman Solomon
(Syndicated columnist and author)

Scott Spenser
Nancy Spero
Art Spiegelman
Starhawk

Bob Stein
{Publisher}

Jack Steinberger
{Nobel Laureate}

Gloria Steinem
Oliver Stone
Mark Strand

William & Rose Styron

Pater Svhon

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Seriista: Byiste ls vats BG Qe PE

'\eews wy beh

(Major, US Army, retired)

Ron Takaki
(Prof. of Ethnic Studies, Berkeley)

Jonathan Tasini
(President, National Writers Union, NYC)

Michael Taussig
(Prof. of Anthropology, Columbia}

Tony Taccone
(Director)

Studs Terkel
Marisa Tomei

Marcia Tucker
{Founding director emerita,

New Museum of Contemporary Art, NY)
Lief Utne
Nina Utne
Kinan Valdez
Coosje Van Bruggen
Gore Vidal

Anton Vodvarka
(Lt., FDNY (ret.})

Kurt Vonnegut
Alice Walker
Rebecca Walker
Naomi Wallace

Immanuel Waherstein
(Sociologist, Yale University)

Rev. George Webber

(President emeritus, NY Theological Seminary)
Leonard Weinglass
Cornell West
- Haskell Wexler

John Edgar Wideman

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Home > Progressive Community > NewsWire > For Immediate Release

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FOR IMMEDIATE RELEASE CONTACT: Bipartisan Group of Former U.S.
FEBRUARY 27, 2003 Senators
4:12PM Jim Abourezk: (605) 334-8402

Bilt Hathaway: (703) 821-3074

Bipartisan Group of Former U.S. Senators Announces
Opposition to Bush Administration's Pians'|to invade Iraq

WASHINGTON - February 27 - A bipartisan group of former United States Senators today
announced its opposition to the Bush Administration's plans to invade traq.

in a statement released by the former lawmakers, the group said that, among other
problems a war will cause, the already struggling American economy will fall into a
recession. The statement continues:

"We ara concerned with the expenditure of American lives in a war that need not be
undertaken at this time. Not only will our sons and daughters. be put in harm's way, but this
is a war that will dramatically increase the terrorist threat to Americans both at home, as
well as the more than one million Americans whe live abroad."

"The nation's almost-forgotten ‘war on terrorism’ has been seriously neglected because of
the Administration's preoccupation with Iraq and Saddam Hussein."

"We are all concerned that Serious damage that can be done to the United States by
terrorism triggered by an attack on a sovereign Arab nation." :

“AS well, ai! Americans should be concerned that an invasion when carried to Iraq's cities
will result in the needless kiting of innocent iraqi civilians, especiallyiwomen and children,
who have no voice in their sovemment's policies."

"A first strike is not authorized under international law, because Iraq poses no imminent or
unavoidable threat to the United States. And there has been no confirmable evidence of
any connection between iraq and Al Qaeda.”

EXHIBIT

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"We successfully contained the Soviet Union for nearly 50 years by| avoiding an attack on
that country which was a real threat the U.S. Iraq has no current abl lity to threaten the
United States as does North Korea, for exampie,”

The group of former lawmakers includes Former United States Senators George
McGovern of South Dakota, John Culver of lowa, Paul Simon of illinois, Adlai Stavenson
Hil of Minois, Fred Harris of Oklahoma, Dale Bumpers of Arkansas, Charles Mac Mathias of
Maryland, Bill Hathaway of Maine, John Tunney of California, Gary'Hart of Colorado,
Howard Meizenbaum of Ohio, and James Abourezk of South Dakota.

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Home

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News
Obituaries
Opinion
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Sports

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Weather
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CC

Features

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About Us
Business Monday
Cantury Edition
Chai

E-The People
Farm Focus

Food Section

For Sale By Owner
Golfing News
History of Yankton
Lake Guide

Letlers to the Editor
Lewis & Clark Trail
Locator Map

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Media Kit - Print: 1,2
Movie Listings

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Opinion

Web posted Friday, December 20, 2002

Questioning President's Policies Is
Not Unpatriotic :

By James G. Abourezk
© 2002, Global Beat Syndicate

SIOUX FALLS -- We have arrived at a scary and dangerous state in this
country since the attacks of Sept. 11, not only bedause of the threat of
terrorists but because people opposed to the policies of the Bush
administration are being charged with being unpatriotic. It is nota sign
of true patriotism to unthinkingly fall in line behind a president desperate
to take us to war with Iraq -- rather we are obliged to raise the kinds of

questions that save blood and treasure, and preserve our national morality
and global reputation. , :

I went to Baghdad in September as part of a delegation that included
Rep. Nick Rahall, D-W.Va., ona trip aimed at preventing the aggressive
war President Bush has been aching to wage against the Iraqis. We also
wanted to investigate the effect of the long sanctions against Iraq on the.
health and nutritional condition of the Iraqi people,

Most of all, we wanted to convince the Iraqi government that George W.
Bush was not joking about attacking Iraq if Baghdad did not allow
weapons inspectors back into the country. We met with Deputy Foreign
Minister Tariq Aziz and with Saadoun Hammadi, speaker of the Iraqi
parliament. I had known both men in earlier times. Hammadi was foreign
minister when I was a member of the U.S. Senate, | first met Aziz in

1988, when I was a lawyer in private practice representing a client who
had business in Iraq.

In our September meeting I told both men that to avoid an aggressive
-S. military strike, Iraq had to remove any excuse for such attack.
Happily, two days after we lef, the Iraqi government announced that it
would re-admit the inspectors, despite Baghdad's concern that members
of the last inspection team had spied for the United States and Israel.

We believed then -- and still believe -- that we wete performing a public
service by trying to avoid a war. But now, Rep. Rahall and others who

are opposed to invading Iraq are being called unpatriotic. It is a form of
modern-day McCarthyism. :

The issue of who is patriotic and who is not deserves thoughtful
examination. While he was in Iraq trying to prevent a war, Rep. Rahall
was called a traitor by his Republican Opponent in; West Virginia -- and
this is only one example of widespread efforts to silence opponents of

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MidwestAutoSource
M.T. & RC. Smith Ins.
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Quality Motars
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Bush's fraq policy. Those wanting a war use the technique of calling into
question the patriotism of those who oppose it.

with any kind of weapons, America would destroy us in a minute. We are
not that foolish.” .

Saddam Hussein is known to be homicidal, has killed thousands of his
own people. But no one ever accused him of being suicidal, which he
surely would be if he hinted at attacking the United States.

More si gnificantly, a U.S. aggressive war on Trag would implode and
destabilize the Middle East. It would cause a devastating upward spike in
oil prices, which in tum would tumble our economy into a recession --

Also, what effect will an American first strike have on the U.N. Charter
that states categorically that no nation should attack another except in
self-defense? The answer is obvious, it will destrpy the United Nations.

What effect will our actions have on India and Pakistan, who are looking
for any excuse to attack each other with nuclear weapons? Or on China
vis a vis Taiwan? Or on any other country that has ambitions to expand?

Bush administration who seem to delight in the ptospect of the

James Abourezk is a former United States senator from South Dakota.
He wrote this for Global Be

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Congressman Nick Rahall (D-WVa) on a trip aimed at preventing the
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examination. While he was in Iraq trying to prevent a war, Congressman
Rahall was called a traitor by his Republican opponent in West Virginia —
and this is only one example of widespread efforts to silence opponents of
Bush’s Iraq policy. Those wanting a war use the technique of calling into
question the patriotism of those who oppose it. / .
Rather than encouraging debate on the issue, President Bush and his
Supporters are using fear and name-calling to beat their opponents over the
head. He has said repeatedly that Saddam Hussein’s Iraq is a direct threat to
the United States. Sadly, he is telling the country a bald-faced lie. According
to statements by his own administration, Iraq does not have nuclear
weapons. Even if it did, it has no long-range bombers or missiles capable of
reaching the United States. And, as Tariq Aziz said during my conversation
with him, "If we were to provide anti-American terrorists with any kind of
weapons, America would destroy us in a minute. We are not that foolish."
Saddam Hussein is known to be homicidal, has killed thousands of his own
people, but no one ever accused him of being suicidal, which he surely would
be if he hinted at attacking the United States. a

More significantly, a U.S. aggressive.war on Iraq would implode and
destabilize the Middle East. It would cause a devastating upward spike in oil
prices, which in turn would tumble our economy into a recession — .
something we do not need on top of our current economic downslide. Such a
war would expose our troops to unknown dangers, the least of which would
be house-to-house fighting in Baghdad and other Iraqi cities. And certainly,
thousands of innocent Iraqi civilians will die from the heavy U.S. bombing
attacks needed to reduce American casualties. Are we willing to have that
innocent blood on our hands? And for what purpose?

Also, what effect will an American first strike have on the U.N. Charter that
States categorically that no nation should attack another, except in self
defense? The answer is obvious, it will destroy the United Nations. What
effect will our actions have on India and Pakistan, who are looking for any
excuse to attack each other with nuclear weapons? Or on China vis a vis
‘Taiwan? Or on any other country that has ambitions to expand?

The question of patriotism should not be aimed at those who oppose the
aggressive devastation of a small third world country, but at those in the
Bush administration who seem to delight in the prospect of the annihilation
of innocent Iraqi civilians. Their plan will devastate our own economy and
destroy the moral values by which we have lived since the founding of this
country. -

ABOUT THE WRITER

James Abourezk is a former United States Senator from South Dakota. He
currently practices law in Sioux Falls, South Dakota.

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http://www.nyu.edu/globalbeat/syndicate/abourezk122302.html 7/3/2003
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The Sunday Gazette Mail, October 6, 2002

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Charleston Gazette (West Virginia) |

October 6, 2002, Sunday
SECTION: Editorial; Pg. Pic
LENGTH: 716 words
HEADLINE: We can beat Iraq, but what for?
BYLINE: James Abourezk

BODY:

T recently traveled to Iraq, and as I saw fraqi civilians on the streets of Baghdad, I could

think only of what percentage of these innocents would be lying dead after a war with the
United States, :

President Bush's quest of domination of Saddam Hussein, how many thousands of Trag

civilians will fall victim to the high-tech slaughter of "smart bombs" and other weapons of real
mass destruction delivered by the U.S. military?

We saw small children in the cancer ward of the Baghdad children’s hospital doomed to an
early death because of the lack of medicine. That medicine has been blocked by the U.S. and
British delegates to a review committee that is charged with monitoring imports into Iraq for
the food-for-oil program. We learned from human-rights organizations that one in 10 Iraqi

children dies before his or her first birthday, and one in three of thése children suffers from
malnutrition,

bit negative in responding to us, two days later his government announced that inspectors -
could come in without conditions, ”

war whenever and however he sees fit. This ts alt unprecedented in American history. We

written a blank war check allowing a president to fill in the blanks at his pleasure and upon
his whim.

on 4 war platform, which Perhaps explains why, when Bush at first said weapons inspectors
must be allowed into traq, he changed his mind and began demanding more conceges
’ when the Iraqis agreed to allow the inspectors in.

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The Bush administration is using scare tactics, Iraq, despite the: insane policies of the .
Saddam Hussein regime, has no bombers or long-range missiles that could deliver weapons
of mass destruction. And there is no real connection between the fundamentalist al-Qaeda

and secular Iraq. No one has yet presented credible evidence ofa connection between the
two.

An attack on Iraq would destroy the foundations on Which the U.N. Charter rests, Should
India decide to attack Pakistan, or should China decide to attack Taiwan, or should Russia
choose to invade Georgia because of the rebellion in Chechnya, the United States will be
stripped of moral Standing to object to such aggression,

Those members of Congress who vote to give Bush an OK to start a war will also have a great
deal of explaining to do when the U.S, economy goes into the tank because of high oil prices
and the high cost of the war, and when American soldiers begin coming home in body bags.
The costs will not end there, but will continue for years as. America tries to establish a new
government from the fractious entities now existing in Iraq. Further, if Bush is serious about
the war on terrorism, the invasion he is angling for will certainly destroy any coalition with
Arab countries that are helping us fight that war. :

My hope is that there will be enough opposition to this war to stap it before it starts. If Bush
is not willing to listen, then perhaps the Democrats in Congress, who, up till now, jump when
they see their own shadows, will try to derail the war train before they, and we, are sorry.

LOAD-DATE: October 7, 2002

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Tems: abourezk (Edit Search)
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Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 Page 34 of 50 PagelD #

137 of 1619 DOCUMENTS

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September 20, 2002 Friday

SECTION: Assignment Desk
LENGTH: 609 words

HEADLINE: Delegation to Iraq: Interviews Available

BODY:
News Advisory:

On Thursday two more members of a delegation organized by the Institute for Public Accuracy returned to the
United States from Iraq. T

he delegation included Rep. Nick Rahall (D-W.Va.) who retumed on Tuesday. Other
delegation members now available for interviews are:

JAMES ABOUREZK, 605-334-8402, j im(At)abourezklaw.com

-- NORMAN SOLOMON, 202-347-0020, norman(At)accuracy.org,
http://www.commondreams.org/views02/09 19-08. htm

Executive director of the Institute for Public Accuracy, Solomon said today: "Much of our discussion with Iraqi
officials involved urging them to agree to unfettered access for UN weapons inspectors... A couple of days later, Iraq
chose a longshot for averting war -- appreciably better than no chance at all, but bringing its own risks. Several years
ago, Washington used UNSCOM inspectors for espionage totally unrelated to the UN team's authorized mission, This
fall, inspectors poking around the country could furnish valuable data to the US., heightening the effectiveness ofa
subsequent military attack... Deputy Prime Minister Tariq Aziz told our delegation that a comprehensive 'formula'

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age 35 of 50 PagelD #: 339

Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05

Page 2
U.S. Newswire, September 20, 2002

belongings just to survive. Yesterday I had people beg me for cancer medicine. The UN's '661 committee! is blocking
many such necessities -- this is uncivilized behavior." (Starting Wednesday:) 770-454-9109

For more information, contact at the Institute for Public Accuracy: Sam Husseini, 202-347-0020, 202-421-6858; or
David Zupan, 541-434-9167
http://www.usnewswire.com

CONTACT: Sam Husseini, 202-347-0020 or 202-421-6853; or David Zupan, 541-484-9 167, both of the Institute for
Public Accuracy http://www.accuracy.org

LOAD-DATE: September 21, 2002
age 36 of 50 PagelD #: 340

Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05

----- Original Message —--

From: Todd D, Epp

To: TeamLeader@probush.com ; webmaster@probush.com : tdepp@aol.com
Sent: Thursday, April 10, 2003 2:53 PM
Subject: Cease and desist in calling James G. Abourezk a traitor on your website

CONFIDENTIAL ATTORNEY-CLIENT PRIVILEGED COMMUNICATION

The information contained in this communication is intended only for the recipient, If you received this

communication in error, please immediately notify Todd D. Epp at 605-334-8402, 866-258-2448, or
tdepp@aol.com.

Re: Abourezk v. probush.com
Our file # 02-0013-02

Dear probush.com.

Please be advised that I represent former U.S. Senator James Abourezk. Qn our about April 9, 2003, he
discovered that he was called a traitor on your website, probush.com. itis my legal opinion that such a
statement is libelous under South Dakota law. SDCL 20-11-3 defines libel:

Libel Is a false and unprivileged publication by writing, printing, picture, effigy, or other fixed
representation to the eye which exposes any person to hatred, contempt, ridicule, or obloquy, or which
causes him to be shunned or avoided, or which has a tendency to injure hinh in his occupation.

Mir. Abourezk is a veteran of the United States Navy, a former U.S. Congressman, and a former U.S.
Senator, He is also admitted to practice law before the courts of South Dakpta and the District of
Columbia. In all of these roles, he has taken oaths to abide by and defend the Constitution of the United
States of America. Further, particularly in this super-heated time of war, calling a person a traitor (one
guilty of the crime of treason) not only subjects Mr. Abourezk to hatred, contempt and ridicule and to injury
in his legal profession, it can also lead to physical harm.

Further, itis my analysis that this accusation is libelous per se. According to Sack on Defamation,
§2.8.3,2 at 2-99 (3d ed. 1999} libel per se are "words. [that] tend on their fate to disgrace the person
about who they are written.” Furthermore, treason is a felony under both federal law, 18 USCA § 2381,
and South Dakota law, SDCL 22-8-1. Thus, to accuse Mr. Abourezk of treason is an extremely very

serious accusation. You either know or should know that Mr. Abourezk is not a traitor and is not guilty of
treason against his country.

in addition, in my legal opinion, the audio portion of your site calling those op it a traitor is slanderous.

EXHIBIT

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Under SDCL 20-11-4:

{1) Charges any person with crime, or with having been indicted, convicted, or punished for crime;

(2) Imputes to him the present existence of an infectious, Contagious, or loathsome disease:

(3) Tends directly to injure him in respect to his Office, Profession, trade, or business, either by imputing
to him general disqualification in those respects which the office or other occupation peculiarly requires, or
by imputing Something with reference to his office, profession, trade, or business that has a natural
tendency to lessen its profit; | :

(4) Imputes to him impotence or want of chastity; or
(5) By natural consequence, causes actual damage.

crime of treason. Again, according to Sack, § 2.82 at Pp. 2-93, this accusation is. slander per se since you
are accusing Mr. Abourezk of having committed a crime.

be as prominent as Your accusations against him are as of April 9, 2003, Such apology shall remain on
your site for at least 39 days.

Payment of Mr, Abourezk’s attorneys fees in the amount of $2,000.00.

I have. also notified Domains By Proxy, Inc., your registrar of this account, that you are in violation of your
terms of service with them.

Sincerely,

Todd D. Epp, Esq.

Of Counsel!

Abourezk Law Offices, P.C,
PO Box 1164

Sioux Falls, SD 57101-1164

(0) 605.334 8492 (f) 605.334.9494

Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 Page 38 of 50 PagelD #: 342

Admitted in Kansas and South Dakota

Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 Page 39 of 50 PagelD #: 343

 ABOUREZK LAW OFFICES
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P.O. Box 1164
Sioux Falls, SD 57101-1164
James G. Abourezk TEL: (605) 334-3402 Delivery Address:
(Also licensed in the ! FAX; (605) 334-9404 401 E. 3” Street #321
District of Columbia) georgepatton@pfire.nct . Sioux Falls, SD 57103
Of Counsel: Office Manager
Todd D. Epp 4 May 8, 2003 Monica J. Johnson
(Also licensed in Kansas) :!

Sender’s direct email: tdepp@acl.com oS Legal Assistant
| : Gloria J. Hart

Sent via Certified Mail, Return Receipt Requested
tt

Michael Marino ‘|
ProBush.com, Inc. 4
PO Box 16 JT
West Point, PA 19486 |!

Re: Abourezk v. ProBush.com, Inc.
Our file # 02-0013-02

Dear Mr, Marino:

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Please be advised that I yepresent former UJ.S. Senator James Abourezk. On our about April 9,
2003, he discovered thatihe was called a traitor on your website, probush.com. It is my legal
opinion that such a statement is libelous under South Dakota law: SDCL 20-11-3 defines libel:

Libel is a false auid unprivileged publication by writing, ptinting, picture, effigy, or other
fixed representation to the eye which exposes any person to hatred, contempt, ridicule, or
obloquy, or which causes him to be shunned or avoided, or which has a tendency to ~
injure him in his|bccupation. .
oo
Mr. Abourezk is a veteran of the United States Navy, a former U.S. Congressman, and a former
U.S. Senator. He is also admitted to practice law before the courts of South Dakota and the
District of Columbia. Iniall of these roles, he has taken oaths to abide by and defend the
Constitution of the United States of America. Further, particularly in this super-heated time of =
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Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 Page 40 of 50 PagelD #: 344

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treason is very serious indeed. ‘You either know or should know that Mr. Abourezk is net a
traitor and is not guilty of dreason against his country. Though you have attempted to “disclaim”
this defamation, it is my dpinion that this atlempied “disclaimer” is ineffective and meaningless.

5/8/2003
Page 2

Thus, my client temands fe following actions be taken immediately:
® That you place ani ‘apology on your website to Mr. Abourezk. Such apology will be
approved by Mr, Abourezk and shall be as prominent as your accusations ageinst him are
as of April 9, 2005
e That any ets to Mr. Abourezk on your website be removed.
e Payment of Mr. Abourezk’s attorneys fees in the amount of $5,000.00.
I have also notified Domidins By Proxy, Inc. your registrar of this account that you are in
violation of your terms of service. They have already “given you up,” and released your
tegistration information , the public.
If you do not immedistely take these actions, my client wil] sue you.
Contact me immediately vith your compliance to these demands.
Sincerely,

TODD D. EPP LAW OFFICE, PLLC

er —
--Fodd D. Epp = *:

Ce: James G. Abourezk |:

Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 Page 41 of 50 PagelD #: 345
ocracy NOW! . Page 1 of 3

September 16, 2002 .
on Democracy NOW! {listen to the entire program]

[click to hear any story]
NEWS HEADLINES

Story: U.S. POLITICIANS AND MEDIA CRITIC NORMA N SOLOMON
MEET WITH IRAOE OFFICIALS IN BAGHDAD

The Iraqi deputy prime minister Tariq Aziz said on Saturday frag will let United
Nations weapons inspectors return only under a comprehensive agreement that
would prevent an attack by the US and lift the UN sanctions imposed after Iraq

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invaded Kuwait.

He said: "If there is a solution that maintains Traq's sovereignty, dignity and
legitimate rights and prevents aggression, we are ready.”

Meanwhile, West Virginia Congressman Nick Rahalt, former US Senator from
South Dakota James Abourezk and media critic Norman Soldmon met with Tariq
Aziz and other Iraqi government officials in Bagdhad over the weekend, Abourezk
said it would be immoral for America to attack Traq without provocation.

Guest:

« Norman Solomon, in Baghdad. He just met with Iraqi Foreign Minister
Tariq Aziz with U.S. Rep. Nick Rahall (D-W.Va.) and former senator James
Abourezk from South Dakota. Solomon is the executive director of the
Institute for Public Accuracy.

~ Related link:

Institute for Public Accuracy

Story: JUST ONE PERSON CAN MAKE A DIFFERENCE: PART TWO OF
OUR INTERVIEW WITH JULIA BUTTERFLY HILL -

Last week peace vigils oceurred across the country to commefnorate Sept. 11, In
New York City thousands gathered in Washington Square Park. Among them was
Julia Butterfly Hill.

The 28-year-old activist is best known for her two-year tree-sit in Luna, a giant
redwood tree in Humbolt County, California. She was protesting the logging
practices of Pacific Lumber Company.

Two months ago environmental activist Hill made international headlines when she

was deported from Ecuador for protesting an oil pipeline that would penetrate a
virgin Andean "cloud forest,”

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The 300-mile oil pipeline has targeted by the environmental activists, It will
transport petroleum from the Ecuadorian Amazon across the Andes to the Pacific
coast for refining and export. :

Today we will continue our interview with Julia recorded last week at our Firehouse

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Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05 Page 42 of 50 PagelD #: 346

Democracy NOW!

Studio as she discusses her philosophy of resistance.

Guest:

« Julia Butterfly Hill, activist for the world's forest and the communities they
protect, She is author of 'The Legacy of Luna: the Story of a Tree, a Woman,
and the Struggle to Save the Redwoods' and 'One Makye the Difference.’

Story: ACTIVISTS PROTEST FORMER UNION CARBIDE CEO WARREN
ANDERSON AT HIS HOME IN LONG ISLAND

Fighteen years ago on December 3, 1984, the toxic gas methyl isocynate began
leaking from a U.S. owned pesticide plant in the Indian city ofBhopal. Within hours
4,000 people were dead. Another 10,000 to 15,000 people would eventually die from
related illnesses. Over 100,000 more were seriously injured. Itiwas the world’s worst
industrial accident.

To date no one from the U.S.-based Union Carbide corporation has ever served time
for the disaster. Eleven years ago "culpable homicide" charges were brought against
Union Carbide's former CEO Warren Anderson. But Anderson has refused to be

tried. However, momentum is growing to extradite Anderson, who could face up to
10 years in prison.

In late August a Bhopal court rejected a plea by federal policeito reduce charges
against Anderson to rash negligence from culpable homicide. Soon after, a member
of Greenpeace tracked Anderson down at his luxury home on Main Street in

Bridgehampton in Long Island. Until that time, U.S. officials claimed to not know of

Anderson's whereabouts. Over this past weekend environmentalist Diane Wilson led
a protest in front of Anderson’s home. And on Friday, members of the Campaign for
Justice in Bhopal staged a hunger strike outside of the United Nations where Indian
Prime Minister Aial Bihari Vajpayee and US President George Bush were meeting.

Today we are joined by Diane Wilson. Diane is a fisherwoman turned
environmentalist, who has been fighting to save the waters of San Antonio Bay from
toxic discharge by chemical companies, including Union Cartide-Dow Chemical. In
August, she chained herself to an ethylene oxide tower inside the Union Carbide

plant (now owned by Dow Chemical) in Seadrift, TX. She was arrested after eight
hours.

Guest:

e Diane Wilson, Fisherman and Activist.

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Page 2 of 3

4/24/2004
age 43 of 50 PagelD #: 347

03-Cyv-04146-LLP Document 47-3 Filed 07/01/05
SEY ROW Page 3 of 3

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age 44 of 50 PagelD #: 348
Page 1 of 2

feb News

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Search
The Daily Star

Former US senator calls for change | in US policy
Abourezk heads fact-finding mission

Lebanon Links Trade Directory About Us

Elie Hourani
Daily Star staff

James Abourezk, a former US senator of Lebanese origin, met with top leaders
here Thursday, calling for a radical change in Washington's policies toward the
country and the resistance.

The former North Dakota Senator paid separate: visits to President Emile Lahoud,
Speaker Nabih Berri, Premier Rafik Hariri and Foreign Minister Mahmoud
Hammoud.

Speaking to reporters after meeting with Hammoud, Abourezk said that members
of the US delegation he is leading were able to “learn the viewpoints of the
Lebanese government” on major issues.

Abourezk was briefed by officials on the Shebaa Farms and called on Israel to
abide by UN resolutions calling on the Jewish state to withdraw its forces from
Lebanese land.

He denied having transmitted any message to the Lebanese side about the
proposed international conference to discuss a Middle East peace plan.

“We have discussed the Shebaa Farms, which I visited yesterday,” Abourezk said
of his visit with Hammoud.

From Ain al-Tineh, where he conferred with Berti, Abourezk told reporters that
discussions centered on “US policies, which were not encouraging with regard to
Lebanon, Syria and the Palestinian territories.” |

Abourezk sald that his discussions with the speaker had also focused on

_ Hizbullah “and the positive role” it was playing in Lebanon.

"(Hizbullah) was like the tool that forced the Israelis to withdraw,” the former
senator said.

Following his meeting with Hariri, Abourezk told; reporters that his discussions with
the premier focused on US policies toward Lebanon and the Middle East.

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i | #: 349
:03-cv-04146-LLP Document 47-3 Filed 07/01/05 Page 45 of 50 PagelD
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Case 4:03-cv-04146-LLP Document 47-3 Filed 07/01/05

age 46 of 50 PagelD #: 350

IPA Press Release: Independent American Delegation to Baghdad | Page 1 of 1

September 10,
2002

Institute for NEWS
Public Accuracy _ RELEASES

Independent American Delegation to Baghdad

An independent American delegation, led by Rep. Nick Rahall and former
Sen. James Abourezk, is scheduled to arrive in Baghdad on Friday night
(Sept. 13).

Rahall, of West Virginia, is currently serving his 13th term in the U.S.
House of Representatives. Abourezk represented South Dakota in the United
States Senate.

The delegation also includes: James Jennings, president of Conscience
International, an Atlanta-based humanitarian aid and himan rights
organization; and Norman Solomon, executive director of the Institute for
Public Accuracy, a nationwide consortium of public policy researchers.

The trip, described by participants as a "humanitarian mission," comes as
President Bush is seeking formal authorization from Congress to launch a
large-scale military attack on Iraq. .

For further information, contact at the Institute for Public Accuracy:
Norman Solomon, (202) 347-0020, (415) 552-5378;
David Zupan, (541) 484-9167

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4/24/2004
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' ABOUREZK, James George (1931-) Biographical Information | Page 1 of 1

aged ene eee

"ABOUREZE, James George, 1931-0

Senate Years of Service: 1973- 1979
Party: Democrat

’- ABOUREZK, James George, a
Represéntative and a Senator from
South Dakota; born in Wood, Mellette
County, S.Dak., February 24, 1931;
attended the Wood and Mission
public schools; graduated as a civil
engineer from the South Dakota
School of Mines, Rapid City, 8.Dak.,
1961; graduated from the University
of South Dakota Law School,
Vermillion, S.Dak. 1966; lawyer;
admitted to the South Dakota bar in
1966 and commenced practice in
Rapid City; served in the United States Navy 1948-1952; elected asa
Democrat to the Ninety-second Congress (January 3, 1971-January 3,,.
1973); was not a candidate for reelection to the United States House of
Representatives in 1972, but was elected as a Democrat to the United
States Senate and served from January 3, 1973, to January 3, 1979; was
not a candidate for reelection in 1978; chairman, Select Committee on
Indian Affairs (Ninety-fifth Congress); dhairman, American Indian
Policy Review Commission 1976; resumed the practice of law and
began a career in writing; is a resident of Rapid City, S. Dak.

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A Jew and an Arab, Debate U.S. Policy | jn the Middle Fast. Bethesda,
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» WILLIAM E. MULLIGAN PAPERS: FOLDER LISTING CONTINUED Page 1 of 1

Box: 12 Fold: 9 ADC - Pamphiets & Brochures
DATE SPAN: [12/01/1980]? - 04/05/1987

DESCRIPTION: Miscellaneous pamphlets and brochures printed by the American-Arab Anti-
Discrimination Committee (ADC). Includes 1 pamphlet by James Abourezk, "Arabs and the Convenient
Scapegoat"; | pamphlet on Samih El-Youssef: the ADC Media Monitoring Guide; and 1 pamphlet,
“What's a Jew to Do?", a roundtable discussion with Rabbi Arthur Hertzberg, Nat Hentoff, Irving Howe
Maicolm Hoenlein, Howard Squadron, Drora Kass and Ron Plotkin,

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_ Abourezk AAUG Keynotel | Page | of 1

REMARKS To AAUG

Annual Convention.

Anaheim Hilton Anaheim, California

October, 19, 1996

James Abourezk

My father died prematurely at the age of 79, But he had lived one
great life, as short as it was. He immigrated to South Dakota in 1898,
working for a time as a lawman, as a homesteader, and as a pack-
peddler, very much like the ancestors of people in this room. He
finally settled on the Rosebud Sioux Indian reservation in South
Dakota, eventually opening two general stores in two small towns
near each other. He went bankrupt once in the 1930's, but bounced
back to become somewhat well-to-do. The main source of his
financial troubles was his great generosity. During the depression, he
gave credit to anyone who needed it, whether Indian or white. After
people started making money again, only the Indians paid him back,
In fact, one of my grandchildren played in a high school basketball
tournament earlier this year on one of the Indian reservations. An old
Indian woman, who apparently had learmed of him being in the
tournament from the newspaper, had her grandchildren bring her to
the game where she presented a star quilt she had made to my
grandson. She told him the quilt was partial repayment for what
Charlie Abourezk had done for her family, and that if it had not been
for his great-grandfather, she and her family would have starved to
death.

My father knew who he was. He was an American and a South
Dakota chauvinist. Once when he went to Vancouver, Washington,
to visit one of our cousins, he was shown the Columbia River. "It's
the biggest river in America, Charlie,” my cousin Joe told him. "Is it
bigger than the Missouri (which runs through South Dakota)?" "Yes,
it is," Joe said, "Sumbitch, bigger than the Missouri."

The point of all this is that my father had no identity crisis. I suppose
that was because where he lived in America, and how he lived, didn't EXHIBIT
leave time for that kind of negative introspection. But neither was the |
Palestinian-Israeli conflict an issue back then, a conflict which has 4 | Q
created social and political havoc with our community.

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Abourezk AAUG Keynote2

it unfortunately has created another conflict within ourselves. i say
this because over the years we, as Arab Americans, have been unable
to come to complete terms with who we are, and what we are, and I

believe the blame rests for the most part on the Arab-Israeli conflict,
and its fallout.

Think back, before 1973, when we could be certain of who are
enemy was. We knew that Israel was the aggressor, and that the
Palestinians and the surrounding Arab countries were being
victimized, to one degree or another as a result of Israel's aggression.
There was a certainty about it. An absoluteness that did not leave
toom for questioning what we thought, and what we did. We did not
doubt that, nor did we doubt ourselves, or our convictions.

But I trace the beginning of our self-doubts with the American--and
the Israeli--response to the Arab oil embargo. That was when the
massive public relations attack on Arabs--and by extension, Arab
Americans--came, The attack was so heavy, and so massive, that we
as a community did not know how to respond. It came from such
diverse sources as the oil companies, who wanted to blame someone
for their own greed; from American politicians, who wanted to divert _
blame from their own negligence in not controlling domestic oil
prices; from the Israeli lobby and its supporters, who saw the danger
to them of Arab oil and Arab money; and from American editorial
writers, who are traditionally lazy, and who saw an issue handed to
them on a silver platter. There was also something extremely mean-
spirited in all this. American journalists began behaving like children
in a schoolyard. You know what I mean. .. when one child goes
down in the fighting, everyone begins kicking him. And that's what
the American press was doing,

The result of it all was that, as a community, we began being
defensive, I know of cases where Arabs--recent immigrants--began
changing their names so no one would know they were Arabs. It was
much like--later on--Iranian-Americans calling themselves .
"Persians" after the American embassy was taken over in Teheran.

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Page 1 of 1

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